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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

  UNITED STATES OF AMERICA

          v.

  NERY RENE CARRILLO-NAJARRO                         Case No.: CR5:21-0009


     DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION FOR ORDER
  ALLOWING THE GOVERNMENT TO MAINTAIN CUSTODY OF SIEZES ITEMS.

        COMES NOW, the undersigned counsel, and respectfully submits a response:

        Defendant Nery Rene Carrillo-Najarro, by and through undersigned counsel, hereby files

                       his response to the Government’s motion (Doc. 98). Mr. Najarro states the

                       following:

    1. The 1997 Mercedes E300D, VIN WDBJF20F8VA365187 was purchased prior to the

        defendant applying for workers. This car was used by defendant’s son to travel back and

        to from school.

    2. Further an Acer laptop and an iPhone 11 Promax was seized this was also the property of

        the defendant’s son and both were used primarily to do school work.

    3. The defendant objects to the Government’s seizure and forfeiture of his property, as his

        property was neither used for, nor the proceeds of, any unlawful activity.



        WHEREFORE, the Defendant requests the Court will grant the relief sought herein and

enter its order.

        Dated this 16th day Of December 2021.

                                                     Respectfully submitted,
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                                                       By: /s/ Marc G. Metts
                                                                Marc G. Metts
                                                      Attorney for Defendant,
                                                Georgia State Bar No.: 174821
                                                  ADDRESS OF COUNSEL:
                                                     300 North Madison Ave.
                                                         Douglas, GA 31533
                                                               (912) 384-0015
                                                               (912)-389-1235
                                                        mettslaw@gmail.com
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                               CERTIFICATE OF SERVICE

       I, Marc G. Metts, hereby certify that on December 16, 2021, I electronically filed the

foregoing with the clerk of Court using the CM/ECF system which will send notification of such

to all counsel of record.




                                                                       By: /s/ Marc G. Metts
                                                                                Marc G. Metts
                                                 Attorney for Defendant, Nere Carrillo-Najarro
                                                                Georgia State Bar No.: 174821
                                                                  ADDRESS OF COUNSEL:
                                                                     300 North Madison Ave.
                                                                          Douglas, GA 31533
                                                                               (912) 384-0015
                                                                               (912)-389-1235
                                                                         mettslaw@gmail.com
